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                  UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF DELAWARE

                                           )    Chapter 11
In re:                                     )
                                           )    Case No. 14-10979 (CSS)
ENERGY FUTURE HOLDINGS CORP., et al.,      )
                                           )    (Jointly Administered)
                      Debtors.
                                           )
                                           )




                  EXPERT REPORT OF MICHAEL HENKIN
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I.   QUALIFICATIONS

     1. Since 2013, I have been a Senior Managing Director and Co-Head of the

        Restructuring Advisory Group of Guggenheim Securities, LLC (“Guggenheim”).

        Guggenheim is the investment banking and capital markets division of Guggenheim

        Partners, LLC, a privately held global financial services firm. Guggenheim is the

        investment banker to the official committee of unsecured creditors (the “EFH

        Committee”) of EFH, EFIH, EFIH Finance, Inc. and EECI, Inc. Prior to joining

        Guggenheim, I worked for fourteen years at Jefferies & Company, Inc. (“Jefferies”),

        where I served as Managing Director and Global Co-Head of the Recapitalization and

        Restructuring Group. In addition to my time at Jefferies, I spent approximately six

        years working in the communications, technology and media industries, including

        executive positions at Loral Space & Communications Ltd., NextEngine, Inc. and

        The News Corporation Limited.

     2. I received an MBA degree and Global Management Certificate from the Stanford

        Graduate School of Business in 1996, and graduated summa cum laude with a BA

        degree in Economics/Business from the University of California, Los Angeles in

        1990. I hold the following securities industry licenses from the Financial Industry

        Regulatory Authority: Series 7, 24 and 63.

     3. Throughout my career, I have advised on over $100 billion in transactions,

        encompassing restructurings, recapitalizations, advisory assignments, financings and

        mergers and acquisitions (“M&A”). My restructuring experience includes advising a

        variety of parties-in-interest in large, complex transactions, in both Chapter 11 and

        out-of-court. I have experience advising official committees of unsecured creditors in
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         a number of complex Chapter 11 cases, including Federal-Mogul Global, Inc.

         (District of Delaware), Nortel Networks, Inc. (District of Delaware), Foamex

         International Inc. (District of Delaware), Loral Space & Communications Ltd.

         (Southern District of New York), Circuit City Stores, Inc. (Eastern District of

         Virginia), Extended Stay Inc. (Southern District of New York) and Exide

         Technologies (District of Delaware). I have also been qualified as an expert and have

         testified in more than ten complex litigated matters both in Delaware and other

         Federal Bankruptcy Courts.

      4. My curriculum vitae and identification of matters in which I have testified as an

         expert at deposition or trial in the past four years can be found in Appendix A. I have

         not authored any publications in the past ten years.

II.   ASSIGNMENT

      5. On November 12, 2014, Guggenheim was retained by the EFH Committee.

         Guggenheim is providing certain financial advisory and investment banking services

         to the EFH Committee, including, among other things: (a) evaluating proposed plans

         of reorganization, including with respect to the proposed treatment of creditors and

         disputed claims; (b) advising on the disposition of Oncor Electric Delivery Company

         LLC (“Oncor”) by evaluating related bids and analyzing proposed strategies (and

         alternatives) for an Oncor sale transaction; and (c) analyzing the Debtors’ business

         plans and financial projections.

      6. In connection with the proceedings to consider the Motion of EFH, et al., to Approve

         a Settlement of Litigation Claims and Authorize the Debtors to Enter Into and

         Perform Under the Settlement Agreement, filed August 10, 2015 [D.I. 5249] (the



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            “Settlement Motion”) and confirmation of the Debtors’ fifth amended plan of

            reorganization (the “Plan”) (collectively, the “Confirmation Proceedings”), I have

            been asked by counsel for the EFH Committee to provide expert testimony on certain

            matters.1 Specifically, I have been asked to:

                    Analyze the typical remedies available to sellers in large M&A transactions to

                     provide comfort to the seller that a transaction will be consummated if the

                     conditions to closing are met relative to the remedies contained in the

                     Purchase Agreement and Agreement and Plan of Merger (the “Merger and

                     Purchase Agreement”);

                    Analyze and explain the financial incentives and disincentives that are created

                     by the Merger and Purchase Agreement (and related agreements) and the

                     Settlement Agreement to close the transactions contemplated thereby (the

                     “Merger”);

                    Analyze the circumstances under which the Purchasers and Plan Sponsors

                     acting in their own financial interest will or will not consummate the Merger

                     based on the structure of the transaction and the information that will be

                     available to the Purchasers and Plan Sponsors at or near closing;

                    Analyze whether there are reasonable assurances that the Merger will close;

                    Analyze whether the interest rate paid by EFH to TCEH in connection with

                     the intercompany promissory notes between TCEH and EFH from 2007 until


1
    Capitalized terms not defined herein shall have the meaning set forth in the Fifth Amended Joint Plan of
    Reorganization [D.I. 6122] and the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization of
    Energy Future Holdings Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code filed 09/21/2015 D.I.
    6124 (the “Disclosure Statement”).




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                      repaid in full in 2013 was reasonable and represented reasonably equivalent

                      value for the advancing of credit during this period; and

                     Analyze whether, based on the implied market value of TCEH today, there is

                      likely to be any tax liability to EFH upon a disposition of TCEH in a

                      transaction utilizing net operating losses (“NOLs”) at EFH.

        7. In the course of my analyses, and throughout the engagement of Guggenheim in these

             Chapter 11 cases, I have reviewed and considered various documents, data and other

             information. This information includes, but is not limited to, filings with the

             Bankruptcy Court, transaction documents, deposition transcripts and review and

             analysis of both publicly available information and confidential information provided

             to the EFH Committee. An identification of the material documents or other

             information containing facts or data that I, working with my colleagues at

             Guggenheim, considered in preparing this report can be found in Appendix B. In

             addition to reviewing the information listed in Appendix B, I have relied on my

             training and professional experience, as well as the training and experience of

             members of my team.

        8. My work in this matter is ongoing, and I reserve the right to supplement my analysis

             and opinions should more information become available to me.2 I also reserve the

             right to respond to the report or testimony of any of the Debtors’ experts. At trial, I

             may rely on visual aids and/or demonstrative exhibits based on this report.



2
    My understanding is that the proponents of the Plan and Settlement Agreement are submitting their expert
    reports, if any, on the same date as this report and have not yet provided a complete statement of the bases upon
    which they contend the Bankruptcy Court should confirm the Plan or approve the Settlement Agreement.




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III.       COMPENSATION

           9. Pursuant to its engagement letter with the EFH Committee, Guggenheim is receiving

               the following consideration for its services in these Chapter 11 cases:

                        a non-refundable cash fee of $250,000 per month; and

                        a cash fee in an amount equal to $9,000,000 upon consummation of a

                         Transaction3 (the “Transaction Fee”). The Transaction Fee will be reduced by

                         50% of all monthly fees paid to Guggenheim after May 12, 2015.

           10. I understand that Guggenheim would be entitled to receive its Transaction Fee

               irrespective of whether the Debtors’ proposed Plan or another plan of reorganization

               is consummated.

IV.        SUMMARY OF OPINIONS

           11. Opinion 1. The lack of remedies in the Merger and Purchase Agreement is

               inconsistent with both large utility M&A transactions and large bankruptcy sale

               transactions.

           12. Opinion 2. The agreement by the Purchasers to buy Oncor as a REIT is akin to an

               option.

           13. Opinion 3. The Purchasers and Plan Sponsors can be expected to make their decision

               to close the Merger based on whether the perceived value of the common stock of

               New EFH (“New EFH Common Stock”) exceeds the sum of: (a) the purchase price

               plus (b) additional payments to be received by certain Plan Sponsors in the event the

               Merger does not close.

3
       “Transaction,” as defined in the engagement letter, includes the reorganization contemplated by the Debtors’
       proposed plan of reorganization, along with any other reorganization, rescheduling, recapitalization or
       repayment of all or any material portion of the Debtors’ liabilities.




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         14. Opinion 4. There are no reasonable assurances that the Merger will close.

         15. Opinion 5. The interest rate paid by EFH to TCEH in connection with the

              intercompany promissory notes originally issued in October 2007 and repaid in full in

              2013 was reasonable and represented reasonably equivalent value in exchange for the

              advancing of credit during that period.

         16. Opinion 6. Based on the implied market value of TCEH today, there will be no tax

              liability to EFH upon a disposition of TCEH in a transaction utilizing EFH’s NOLs.

V.       BACKGROUND

         A.        EFH and the Bankruptcy Cases4

         17. EFH operates a portfolio of competitive and regulated energy companies serving the

              Texas energy market. These companies are: (a) Luminant; (b) Oncor; and (c) TXU

              Energy. Luminant is the largest electricity generator and lignite coal mining company

              in Texas and also operates a wholesale electricity sales, commodity risk management

              and hedging and trading activities business. TXU Energy is a retail energy provider

              that serves 1.7 million residential and commercial consumers in Texas. Oncor is a

              ring-fenced5 group of entities that operates the largest electricity transmission and

              distribution system in Texas. EFH conducts substantially all of its business operations


4
     Sourced from Disclosure Statement and publicly available information.

5
     In the United States, ring-fencing in the regulated utility arena is the structuring of the legal and operational
     aspects of a utility such that the utility is substantially insulated from the activities and financial status of its
     parent and affiliated companies. Often ring-fencing in this context is viewed as protecting the credit rating, and
     indirectly the ratepayers, of the utility from adverse conditions that may affect the parent or any affiliated
     companies. Utility companies in the United States are also ring-fenced "to achieve bankruptcy remoteness,
     through a combination of contract and legislation." Utility companies are ring-fenced "to protect them against
     internal and external risks, so they can be assured to be able to continue providing the public with essential
     utilities such as power…" Source: Steven Schwarcz, “Ring Fencing.” 87 Southern California Law Review 69
     (2013).




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   in the electricity market overseen by the Electric Reliability Council of Texas

   (“ERCOT”), which covers the majority of Texas.

18. On February 26, 2007, TXU Corp. (the predecessor of EFH) entered into an

   agreement to be acquired by a consortium led by Kohlberg Kravis Roberts & Co. L.P.

   (“KKR”), TPG Capital, L.P. (“TPG”) and Goldman, Sachs & Co. (“Goldman Sachs”

   and collectively with KKR and TPG, the “Sponsors”) for an enterprise value of

   approximately $44.4 billion (the “2007 Acquisition”). EFH’s current corporate

   structure is set forth in Exhibit 1 below.

       Exhibit 1




       Source: TCEH Partial Tax Basis Step-up Transaction presentation dated 03/17/2015 EFH

               Dataroom Index 1.15.1.2 (PEO).

19. The 2007 Acquisition was financed with approximately $8.3 billion in equity, and

   immediately following the acquisition, the Debtors’ total funded indebtedness was

   approximately $36.1 billion (comprised of approximately $28.8 billion at TCEH,


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             $128 million at EFCH, and $7.2 billion at EFH Corp.). EFH issued and assumed a

             significant amount of debt and liabilities in connection with the 2007 Acquisition,

             which was driven, in part, by the expectation that natural gas prices and wholesale

             electricity prices in the ERCOT market would not materially decline over the long-

             term. Those assumptions proved to be incorrect. Starting in 2008, there was a

             precipitous and prolonged decline in natural gas prices which has materially affected

             EFH’s competitive generation business.

        20. In particular, as a result of technological breakthroughs which facilitated the

             increased exploitation and production of “unconventional” natural gas (e.g., shale oil

             via hydraulic fracturing), natural gas prices materially declined and have remained

             depressed for the past seven years.

        21. Ultimately, based on a revised outlook for natural gas prices and expected market

             conditions, the Debtors deemed EFH’s balance sheet (and those of other Debtor

             entities) unsustainable given its inability to service, repay and refinance its debt. The

             Debtors commenced their Chapter 11 cases on April 29, 2014.

        B.       The Merger and Purchase Agreement

        22. Prior to commencing these Chapter 11 proceedings, the Debtors undertook a process

             with certain significant stakeholders to pursue a conversion of claims into

             EFH/EFIH’s economic ownership interest in Oncor.6 In connection therewith, the

             Debtors entered into a prepetition restructuring support agreement (the “RSA”).

             However, on July 24, 2014, after receiving alternative proposals, including from

6
    EFIH owns approximately 80% of Oncor and its ownership in Oncor is a significant source of value for the “E-
    Side” Debtors. EFH has an indirect economic ownership interest in Oncor and certain rights through its tax
    sharing agreement.




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            third-party strategic and financial bidders, the Debtors provided a notice of

            termination of the RSA and subsequently sought approval from the Bankruptcy Court

            for bidding procedures and an auction process for the sale of Oncor.7

        23. Following entry of an order approving the revised bidding procedures and auction

            process on January 14, 2015, the Debtors: (a) received two rounds of bids for Oncor

            from various strategic and third-party bidders; (b) engaged in extensive due diligence

            with interested bidders; and (c) exchanged drafts of proposed definitive

            documentation. This process took approximately three months.

        24. Contemporaneously with exploring potential bids in connection with the formal

            auction process, the Debtors continued to engage in discussions with their various

            creditor constituencies regarding the possibility of converting EFH’s interest in Oncor

            into a REIT. Ultimately, the Debtors determined that they would not enter into a

            definitive agreement for any of the second round bids and instead executed the

            Merger and Purchase Agreement with Ovation Acquisition I, LLC (“New EFH”) and

            Ovation Acquisition II, LLC (“OV2” and, together with New EFH, the “Purchasers”).

            The Purchasers are controlled by, and will be funded by, the Hunt-Investor Party8 and

            the Creditor-Investor Party9 (collectively, the “Plan Sponsors”). The Debtors

            simultaneously executed an agreement (the “Plan Support Agreement” or “PSA”)


7
    Motion of Energy Future Holdings Corp., et al., for Entry of an Order (A) Approving Bidding Procedures, (B)
    Scheduling an Auction and Related Deadlines and Hearings, and (C) Approving the Form and Manner of
    Notice Thereof D.I. 2087. Page 2.

8
    The Hunt-Investor Party consists of Hunt Power Holdings, L.L.C., Pecos Partners, L.P., Flourish Investment
    Corporation, and Avenue Capital Management II, L.P.
9
    The Creditor Investor Party consists of certain holders of TCEH Unsecured Notes that make up the Ad Hoc
    Group of TCEH Unsecured Noteholders.




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             with certain supporting stakeholders including certain TCEH first lien creditors,

             TCEH second lien creditors, the TCEH Committee, the Hunt-Investor Party, the

             Creditor-Investor Party and the Sponsors.

         25. The Debtors’ Plan contemplates EFH taking actions to effect a corporate restructuring

             of their respective businesses which would include, among other things: (a) a tax-free

             spin-off of TCEH; (b) a tax basis step-up in TCEH (achieved via a preferred stock

             sale to trigger a gain); and (c) a sale of EFH’s interest in Oncor.

         26. The Merger and Purchase Agreement contemplates that the Merger will be financed

             with Oncor’s existing net debt of approximately $6.5 billion plus: (a) approximately

             $7.1 billion of equity capital from the Plan Sponsors10; and (b) approximately $5.1

             billion of newly issued debt.11

         27. The Merger and Purchase Agreement provides an Initial Drop-Dead Date by which

             the transaction must be consummated. The Initial Drop-Dead Date is expected to

             occur by May 2016.12 However, the agreement also contemplates that the Final

             Closing date can be extended by the Purchasers, under certain circumstances, until

             November 2016 (180 days) so that the parties can continue to pursue Required

             Regulatory Approvals.13 The closing would take place on the effective date of the




10
     As set forth in the equity commitment letter and backstop commitment letter attached to the motion to approve
     the PSA (collectively, the “Equity Commitment Letters”).

11
     As set forth in the debt commitment letter attached to the motion to approve the PSA.

12
     The Merger and Purchase Agreement provides for the Initial Drop-Dead Date to occur eight months after the
     date of the Merger and Purchase Agreement (08/09/2015). Merger and Purchase Agreement § 8.2.

13
     Merger and Purchase Agreement § 8.2.




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             Plan (the “Effective Date”), and the proceeds would be applied, in part, to repay

             claims against EFH and EFIH in accordance with the Plan.

         28. Generally, the purchase price paid for Oncor is not a fixed amount, but goes up and

             down on a dollar-for-dollar basis with the amount of claims against EFH and EFIH to

             be allowed and repaid in accordance with the Plan.14 Based on the current estimate of

             such claims as of June 30, 2016, the Debtors have estimated that the purchase price
                                                                     15
             will value Oncor at approximately                            The necessary price will change as

             the amount of allowed claims changes, irrespective of the value of Oncor. As

             discussed herein, the effectiveness of the Plan is contingent upon the closing of the

             Merger by the Purchasers.

         29. The Merger and Purchase Agreement includes a provision that expressly prevents the

             sellers from obtaining specific performance to require the Purchasers to consummate

             the transaction. Section 9.9(c) of the Merger and Purchase Agreement provides that:

                  Notwithstanding anything in this Agreement or any other
                  Transaction Agreement to the contrary, except with respect to any
                  Purchaser’s obligation to pay any amount guaranteed pursuant to
                  the Guarantee, none of the Company, EFIH or any of their
                  Affiliates or stakeholders shall be entitled to seek or obtain specific
                  performance of any Purchaser’s obligations under this Agreement,
                  including to consummate the Equity Draw-Down (or to cause it to
                  be consummated) or complete (or cause to be completed) any other
                  action or transaction to be completed at the First Closing.




14
     Merger and Purchase Agreement §§ 1.4, 1.8.
15
     Assumes 100% post-petition interest at the contract rate is payable, and no EFH or EFIH make-whole claims
     are allowed by the Bankruptcy Court.




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30. The Merger and Purchase Agreement also expressly prohibits the sellers from seeking

     damages and other remedies against the Purchasers and Plan Sponsors. Section 9.9(b)

     of the Merger and Purchase Agreement provides that:

        [T]he Company and EFIH hereby (i) waive, on behalf of
        themselves and their Affiliates, any and all common law, statutory
        or other remedies . . . under any legal theory that such Person or
        any of their Affiliates may have against the Purchasers or their
        respective Affiliates in respect of any claims or causes of action
        under this Agreement and (ii) agree that, to the extent they or any
        of their Affiliates incur losses arising from or in connection with a
        breach by any other party hereto or any of their respective
        Affiliates of its representations, warranties, covenants or
        agreements contained in this Agreement, in no event shall the
        Company or EFIH or their Affiliates seek to recover any money
        damages from (or seek any other remedy, including specific
        performance, based on any legal, contractual or equitable theory
        against) the Purchasers or any of their respective Affiliates.

C.      The Settlement Agreement

31. The Plan provides for the mutual release of claims among all Debtors and consenting

     holders of claims and interests as well as third-party releases of the Sponsors and its

     affiliates. In exchange for the value provided and the compromises contained in the

     Plan, the Debtors entered into a settlement with certain parties (the “Settlement

     Agreement”). As part of the Settlement Agreement, pursuant to Bankruptcy Rule

     9019, the Debtors are seeking to allow a $700 million unsecured claim of TCEH

     against EFH (the “TCEH Settlement Claim”) in exchange for settlement of any

     prepetition claim or cause of action of the TCEH Debtors against the EFH Debtors,

     the EFIH Debtors, Oncor and the Sponsors or their affiliates.

32. The TCEH Settlement Claim will be deemed satisfied upon consummation of the

     Merger, but to the extent confirmation or consummation does not occur, the TCEH




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              Settlement Claim will nonetheless remain effective if the Settlement Agreement is

              approved by the Bankruptcy Court.

         D.      The “T-Side” and the Potential Tax Liability at EFH

         33. EFH is the common parent of a “consolidated group” of corporations16 that

              substantially hold all of its assets and are “disregarded entities” for federal income tax

              purposes. As such, each entity’s assets and liabilities, together with any items of

              taxable income, expense, loss, gain, deduction and credit attributable to those assets

              and liabilities, are treated as though they were owned and/or generated directly by

              EFH (i.e., EFH is generally liable for any federal income tax liability, including those

              generated by a sale of the assets or equity of those entities). The Debtors have

              asserted that “any taxable disposition by EFH of the Debtors’ assets (either through a

              confirmed reorganization plan or a pre-confirmation asset sale) likely would result in

              EFH being left with a potential tax liability.”17 Furthermore, the Debtors provide the

              following example of the potential tax liability generated at EFH:

                 Assume that TCEH’s assets are sold for $18 billion. In that
                 situation, the difference between the sales price (i.e., $18 billion)
                 and TCEH’s basis in its assets (i.e., $7.5 billion) would constitute a
                 “taxable gain” of $10.5 billion. This gain would in turn be subject
                 to federal income tax at a rate of 35%, resulting in a federal income
                 tax liability for EFH of approximately $3.7 billion…the taxable
                 gain from a sale of TCEH…may be offset by any available “tax
                 attributes,” including net operating losses.18



16
     The subsidiaries include: EFIH, EFCH, TCEH and Oncor.

17
     Memorandum of Law (Omnibus Tax Memorandum) filed 10/01/2014 D.I. 2296. Page 5.

18
     Memorandum of Law (Omnibus Tax Memorandum) filed 10/01/2014 D.I. 2296. Pages 9-10. See also, Debtors’
     Pre-submission Memorandum for Ruling under Sections 368(A)(1)(G) and 355, dated 04/28/2014 where the
     Debtors assert an $18 billion TCEH valuation based on the then implied market prices of TCEH debt.




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          34. As noted by the Debtors, a taxable gain from the sale of TCEH may be offset by tax

               attributes, including NOLs. Based on analysis prepared by the Debtors, EFH’s NOLs

               available to offset any taxable gains assuming a June 30, 2016 Effective Date are

               estimated to be $5.3 billion.19

          35. The disposition of TCEH would thus generate a taxable gain if TCEH’s assets are

               sold for value in excess of the sum of TCEH’s basis in its assets plus any available

               tax attributes. If the value of TCEH’s assets sold are below its basis plus any available

               tax attributes, then there would be no taxable gain.

VI.       OPINION 1: THE LACK OF REMEDIES IN THE MERGER AND PURCHASE
          AGREEMENT IS INCONSISTENT WITH BOTH LARGE UTILITY M&A
          TRANSACTIONS AND LARGE BANKRUPTCY SALE TRANSACTIONS

          A.       Overview of the Merger and Purchase Agreement

          36. The Plan contemplates effectuating the sale of Oncor via the merger of reorganized

               EFH, into New EFH and the purchase of interests in reorganized EFIH by OV2. Both

               New EFH and OV2 are controlled by the Plan Sponsors. The Plan Sponsors have

               committed (subject to certain conditions) to make new money equity investments in

               one or both of New EFH and OV2 and backstop a public rights offering and a private

               rights offering by New EFH to TCEH creditors in order to fund amounts payable by

               New EFH and OV2 under the Merger and Purchase Agreement. As a condition to

               closing, among other things, the Debtors are required to obtain certain approvals and

               rulings, including PUCT Approval and the Private Letter Ruling, necessary for the

               REIT Reorganization and implementation of the Plan.


19
      The estimated $5.3 billion of NOLs is net of a $200 million cushion per TCEH Partial Tax Basis Step-up
      Transaction presentation dated 03/17/2015 EFH Dataroom Index 1.15.1.2 (PEO).




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         37. While I do not express an opinion on the relative likelihood of any of these individual

              approvals occurring, I note that the Merger and Purchase Agreement is a highly

              complex transaction which contemplates the creation of a utility REIT that is

              unprecedented in its size and complexity. The Merger is not only subject to regulatory

              and REIT-related approvals and rulings (such as the required Private Letter Ruling),

              but there are also a number of structural and governance issues associated with the

              proposed Merger that will require extensive regulatory review and scrutiny.20

         38. Some of the significant conditions to closing in the Merger Agreement include:

              (a) regulatory and tax approvals; (b) the availability of debt and equity financing;

              (c) that no Plan Support Termination Event has occurred (as defined in the Plan

              Support Agreement); (d) Bankruptcy Court approval of the Settlement Agreement;

              (e) no allowed make-whole claims against EFH or EFIH and (f) achievement of

              certain deal milestones and deadlines. All of these conditions add significant

              uncertainty to the closing of the Merger, and the Debtors correctly note in their

              Disclosure Statement that “…the Merger may not close as a result of the failure of

              one or more of these conditions to be satisfied.”21 The Debtors have stated that the

              Merger and Purchase Agreement contains “out-of-market conditions” and noted “the

              significant risk that the Merger will not close if, among other things: (a) the IRS


20
     The PUCT Approval alone has already occasioned a number of issues raised by Commissioner Kenneth W.
     Anderson, Jr. of the PUCT. In two published memoranda (dated 08/20/2015 and 09/24/2015). Commissioner
     Anderson raised the following issues, among others: (a) the ability of creditors or equity owners to replace
     management of the REIT; (b) the prospect of an “enhanced ring fence” being imposed and potential
     consequences or penalties from a violation of the ring fence; (c) the need for potential restrictions impacting the
     ability of the REIT to make distributions to service debt at its parent company; and (d) how the economic and
     tax benefits of the REIT structure will flow to ratepayers.

21
     See Disclosure Statement at page 197.




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             rulings associated with the REIT conversion or conditions imposed by the PUCT

             upon approval of the transaction affect the intended economics of the transaction; or

             (b) market conditions shift in a manner that would adversely affect the transaction.”22

         39. In a typical acquisition transaction, the buyer and seller allocate amongst themselves

             the risks of various contingencies not occurring. For example, if, as in this case, a

             transaction requires regulatory approvals, a merger agreement will typically describe

             what the parties will do to seek such approvals (e.g., undertaking “reasonable best

             efforts”) and set out the consequences if regulatory approvals are not obtained by a

             specific date.

         40. In the event that the conditions to closing are satisfied, however, a merger agreement

             will ordinarily provide remedies to the seller if the buyer fails to consummate the

             transaction through both: (a) specific performance and (b) financial remedies.23

             Typically, M&A agreements include “a specific performance remedy for both the

             buyer and seller, subject to payment of termination fees as an alternative remedy

             under certain circumstances.”24 Thus, in the usual case, the seller will be able to

             enforce the merger agreement to either force the buyer to complete the transaction

             (through specific performance) and/or obtain a financial remedy for breach or




22
     Presentation to the Boards of Directors and Managers of EFH, et al., dated 07/30/2015 (the “July 30th Update”)
     EFH06002855.

23
     Financial remedies include, but are not limited to: (a) common law damages; (b) a reverse termination fee
     payable by the buyer; (c) forfeiture of deposit; and/or (d) liquidated damages.

24
     Afra Afsharipour, “Transforming the Allocation of Deal Risk Through Reverse Termination Fees.” 63
     Vanderbilt Law Review 5 (2010). Page 1176. (Citing a 2008 study of large strategic acquisitions which found
     that ninety-three percent included a specific performance remedy).




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              termination (which the merger agreement may limit in the form of a liquidated

              damages clause and/or a reverse termination fee).

         B.      The Lack of Remedies in the Merger and Purchase Agreement

         41. According to the Merger and Purchase Agreement, the Debtors have no rights to

              enforce any remedies should the Purchasers or Plan Sponsors terminate or breach the

              agreement. As described herein, the Debtors are not permitted to seek specific

              performance or financial damages against the Purchasers or Plan Sponsors under the

              Merger and Purchase Agreement. Furthermore, the Debtors themselves have

              acknowledged that the Merger and Purchase Agreement lacks “typical remedies”

              such as specific performance or the right to receive any monetary damages or a

              termination fee.25

         42. In my experience, it contradicts customary practices and is virtually unheard of for

              parties negotiating a large M&A transaction at arm’s-length to agree the seller has no

              remedies to protect against a buyer’s change of heart. To my knowledge, I have not

              been involved in any large M&A transaction in which the seller had neither a remedy

              of specific performance nor financial remedies against the buyer.

         43. In addition to my own experience, and that of my team at Guggenheim, I have also

              examined data on comparable M&A transactions.

         44. My team and I analyzed all M&A transactions at or above $1 billion announced in the

              last five years (the “Comparable M&A Transactions”) involving: (a) public M&A




25
     Debtors’ Omnibus Reply to Objections to Plan Support Agreement Motion. D.I. 5978.




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              transactions in the power and utility sector26 and (b) Chapter 11 sale transactions.27

              We then reviewed the specific transaction terms for each Comparable M&A

              Transaction to determine whether one or more seller protections existed including:

              (a) specific performance; (b) a reverse termination fee; (c) forfeiture of deposit;

              and/or (d) liquidated damages. One or more of these seller protections were present

              in 100% of the transactions identified. In over 72% of the transactions, both specific

              performance and either a liquidated damages, reverse termination fee or deposit

              forfeiture remedy were available. Moreover, when you include common law (or

              general) damages in a review of financial remedies, 100% of the transactions we

              identified contained both specific performance and at least one form of financial

              remedy for the benefit of the seller.28 Exhibits 2 and 3 below summarize this data.




26
     U.S. M&A transactions where public information was available, sourced from SNL Financial, FactSet and
     Corporate Filings.

27
     U.S. Chapter 11 transactions with information sourced from The Deal, LLC.
28
     For the eight transactions that did not have a liquidated damages, reverse termination or deposit forfeiture
     remedy, my team reviewed the transaction agreements and all permitted common law damages for breach.




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                              Exhibit 2
Power & Utility Industry M&A Transaction Analysis                                                                                                                                 ($ in millions)
                                                                                                                                               Selected Seller/Deal Protections
                                                                                     Announcement                                       Specific          Reverse            Liquidated
                 Buyer                                      Seller                       Date     Closing Date           Value        Performance     Termination Fee         Damages


Emera Incorporated                   TECO Energy, Inc.                                09/04/2015        Pending         $10,183                                                       
Southern Company                     AGL Resources Inc.                               08/24/2015        Pending          12,059                                                       
SunEdison                            Vivint Solar                                     07/20/2015        Pending           2,200                                                       
Talen Energy Corporation             MACH Gen LLC                                     07/20/2015        Pending           1,175                                                       
Iberdrola, S.A.                      UIL Holdings Corporation                         02/25/2015        Pending           4,756                                                       
NextEra Energy, Inc.                 Hawaiian Electric Industries, Inc.               12/03/2014        Pending           3,963                                                       
Macquarie, British Columbia          Cleco Corporation                                10/20/2014        Pending           4,684                                                       
Investment Mgmt, Manulife Financial,
John Hancock
Wisconsin Energy Corporation         Integrys Energy Group, Inc.                      06/23/2014      06/29/2015          9,073                                                       
Exelon Corporation                   Pepco Holdings, Inc.                             04/29/2014       Pending            6,800                                                       
Fortis Inc.                          UNS Energy Corporation                           12/11/2013      08/15/2014          4,310                                                       
Berkshire Hathaway Inc.              NV Energy, Inc.                                  05/29/2013      12/19/2013         10,453                                                       
NRG Energy, Inc.                     GenOn Energy, Inc.                               07/22/2012      12/14/2012          3,909                                                       
Fortis Inc.                          CH Energy Group, Inc.                            02/21/2012      06/27/2013          1,610                                                       
Exelon Corporation                   Constellation Energy Group, Inc.                 04/28/2011      03/12/2012         10,623                                                       
AES Corporation                      DPL Inc.                                         04/20/2011      11/28/2011          4,613                                                       
Duke Energy Corporation              Progress Energy, Inc.                            01/10/2011      07/02/2012         25,717                                                       
AGL Resources Inc.                   Nicor Inc.                                       12/06/2010      12/09/2011          3,400                                                       
Northeast Utilities                  NSTAR                                            10/18/2010      04/10/2012          7,567                                                       
Blackstone Group                     Dynegy Inc                                       08/13/2010      11/23/2010          4,616                                                       
RRI Energy, Inc.                     Mirant Corporation                               04/11/2010      12/03/2010          2,204                                                       
FirstEnergy Corp.                    Allegheny Energy, Inc.                           02/11/2010      02/25/2011          9,273                                                       



                              Source: SNL Financial, FactSet and Corporate Filings as of 10/07/2015.

                              Exhibit 3
Chapter 11 Bankruptcy Sale Transaction Analysis                                                                                                                                     ($ in millions)
                                                                                                                                                        Selected Seller/Deal Protections
                                                                       Announcement                                                            Specific      Forfeit       Reverse       Liquidated
                                                                                                                                                                   (29)
                Buyer                              Seller                  Date     Closing Date    Value            Jurisdiction            Performance Deposit        Termination Fee Damages

Concession Acquisitions                ITR Concession Company           03/11/2015     05/27/2015   $5,725   Northern District of Illinois                                                
New Cingular Wireless Services, Inc.   NII Holdings                     01/26/2015     04/30/2015    1,875   Southern District of New York                                                
NRG Energy, Inc.                       Edison Mission                   10/18/2013     04/01/2014    2,840   Northern District of Illinois                                                
US Airways Group Inc.                  AMR Corp.                        02/14/2013     12/09/2013   11,000   Southern District of New York                                                
Supermedia Inc.                        Dex One Corporation              08/21/2012     04/30/2013    1,570   District of Delaware                                                         
Govt. of Singapore Investment Corp.    MSR Golf Resort LLC              08/16/2012     02/28/2013    1,502   Southern District of New York                                                
Berkshire Hathaway Inc.                Residential Capital, LLC         06/11/2012     02/05/2013    1,500   Southern District of New York                                                
Ocwen Loan Services, LLC               Residential Capital, LLC         10/23/2012     01/31/2013    3,000   Southern District of New York                                                
Gamma Acquisition LLC                  TerreStar Networks               06/15/2011     03/12/2012    1,357   Southern District of New York                                                
(Dish Network Corporation)
Dish Network Corporation               DBSD North America               02/01/2011     03/12/2012    1,490 Southern District of New York                                                  
Chatham Lodging, L.P                   Innkeepers USA Trust             05/03/2011     10/27/2011    1,020 Southern District of New York                                                  
Rockstar Bidco L.P.                    Nortel Networks, Inc.            06/30/2011     07/29/2011    4,500 District of Delaware                                                           
(Sony Corp. / Microsoft Corp. /
Research In Motion Ltd. / More)
Constellation Holdings, Inc.           Boston Generating, LLC           08/09/2010     01/04/2011    1,100 Southern District of New York                                                  
Fairholme Capital                      General Growth Properties(30)    02/24/2010     11/09/2010    6,550 Southern District of New York                                                  
CP ESH Investors, LLC                  Extended Stay Inc.               02/19/2010     10/08/2010    3,925 Southern District of New York                                                  



                              Source: Corporate Filings.




29
       Note: If applicable, a buyer would forfeit its deposit only in certain circumstances.
30
       Note: Reviewed Cornerstone Investment Agreement dated as of 03/31/2010 and all amendments and Stock
       Purchase Agreement dated as of 03/31/2010 and all amendments.




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              termination fee. The reverse termination fee entitled the sellers to a cash payment of

              $1 billion as a remedy under certain circumstances.

         47. Based on the foregoing analyses, the lack of specific performance and financial

              remedies in the Merger and Purchase Agreement is inconsistent with the disposition

              of businesses of this type. The lack of such remedies creates additional uncertainty

              for the seller because, as discussed below, it means that the Purchasers essentially

              have an option to close the transaction. This uncertainty of closing is in addition to

              the large number of regulatory, tax and other conditions to closing contained in the

              Merger and Purchase Agreement.

VII.     OPINION 2: THE AGREEMENT BY THE PURCHASERS TO BUY ONCOR AS
         A REIT IS AKIN TO AN OPTION

         A.      The Merger and Purchase Agreement Are Equivalent in Economic Effect to
                 an Option Contract

         48. Options, as their name implies, are agreements that provide investors with flexibility.

              Fundamentally, an option is a contract which conveys to its holder the right, but not

              the obligation, to buy or sell a specified quantity of an underlying asset at a stated

              price (strike or exercise price) on a stated date (European style option) or at any time

              before or on the stated expiration date (American style option).33 Generally the buyer

              of the option contract will pay the seller a fee (or premium) for this right.




33
     Damodaran (2012) “Real Options, Acquisition Valuation and Value Enhancement;” The Options Clearing
     Corporation (1994) “Understanding Stock Options;” and Federal Reserve Board “Futures, Forward, and Option
     Contracts” (2015 and 1992).




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         49. Analyzing the Merger, EFH can be seen as the “seller” of an option to purchase the

              New EFH Common Stock for up to $                             (i.e., the exercise price).34 For the

              Purchasers and Plan Sponsors, the Merger and Purchase Agreement resembles an

              American style call option because it provides the Purchasers and Plan Sponsors with

              the exclusive right, but not the obligation, to fund the Merger and “exercise” the

              option on or before the First Closing date (which can occur as late as May 2016,

              subject to certain further extensions up to 180 days). Even the Debtors have

              acknowledged that “the documents governing the Merger and the equity financing are

              drafted with sufficient conditionality to effectively create an option for the Investors

              to close the transaction.”35

         50. In short, the characteristics of the Merger and Purchase Agreement described above

              mean that the final decision by the Purchasers as to whether or not to acquire Oncor

              has not taken place and will not occur until the transaction needs to be funded. This

              provides the Purchasers with a “real” option in which the Purchasers have the

              exclusive right, but not the obligation, to invest and complete the transaction.36

         51. In this case, it is only when the Purchasers’ decision to acquire Oncor can no longer

              be deferred that “the real option expires and the decision at that point compares in

              present value the benefit of the assets to their costs, as in standard DCF analysis. Prior

34
     See Presentation to the Boards of Directors and Managers of EFH, et al., dated 08/09/2015 (the “August 9th
     Approval”) at slide 25 EFH06002923. Assumes 100% post-petition interest at the contract rate is payable, and
     no EFH or EFIH make-whole claims are allowed by the Bankruptcy Court.

35
     See August 9th Approval at slide 5 EFH06002903.

36
     A corporate investment opportunity is like a call option when it provides the right (but not the obligation) to
     acquire (buy or build or expand) something, such as a business or asset; See Copeland and Tufano (2004)
     Harvard Business Review “A Real-World Way to Manage Real Options;” and Damodaran (2012) “Real
     Options, Acquisition Valuation and Value Enhancement.”




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              to expiration, however, the investment decision can be deferred, creating option

              value: if the asset value changes during this period, there is the ability to make the

              investment selectively only when beneficial, not proceeding otherwise.”37

         B.      The Settlement Agreement Does Not Create an Incentive to Close

         52. The Debtors have argued that the Settlement Agreement provides an effective remedy

              for failure to consummate the transactions contemplated by the Merger and Purchase

              Agreement, and thus that the Merger and Purchase Agreement does not simply

              provide an option. For example, in paragraphs 6-7 of the Debtors’ Omnibus Reply to

              Objections to Plan Support Agreement Motion, the Debtors state that “[i]nstead of the

              typical remedies for a financial buyer—a reverse breakup fee or liquidated damages

              clause—the PSA mandates a complete disarmament through implementation of the

              Alternative Restructuring,” and “disarmament is both more punitive than a reverse

              breakup fee and, from the Debtors’ perspective, superior to one.”

         53. The Debtors’ position is not supported by the financial incentives created by the

              parties’ agreements. My understanding is that the Settlement Agreement is binding

              upon the creditor parties if approved by the Bankruptcy Court, which approval has

              been requested in conjunction with Plan confirmation, well before the Effective Date.

              Accordingly, creditors entering into the Settlement Agreement will treat the value

              they are providing to the Debtors as already granted upon Bankruptcy Court approval

              of the Settlement Agreement. And, just as the purchase price of an option (or




37
     Hodrick (2014) Columbia Business School Course Packet “Note on Valuing Real Options.”




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              premium paid) is a sunk cost,38 and has no economic bearing on whether the option

              holder will elect to exercise that option in the future, the Settlement Agreement will

              have no economic bearing on whether the Purchasers will consummate the Merger at

              closing.

         54. As discussed below, under the terms of the Settlement Agreement, if the Merger does

              not close and the Plan fails to consummate, TCEH junior creditors will receive a $550

              million payment. Under certain scenarios, the TCEH junior creditors could view the

              $550 million as more attractive than exercising their option to purchase the New EFH

              Common Stock. Thus, the expected payments in the event the Merger does not close

              are relevant when examining the financial incentives for the Purchasers to close or

              not.

VIII. OPINION 3: THE PURCHASERS AND PLAN SPONSORS CAN BE EXPECTED
      TO MAKE THEIR DECISION TO CLOSE THE MERGER BASED ON
      WHETHER THE PERCEIVED VALUE OF THE NEW EFH COMMON STOCK
      EXCEEDS THE SUM OF: (A) THE PURCHASE PRICE PLUS (B) ADDITIONAL
      PAYMENTS TO BE RECEIVED BY CERTAIN PLAN SPONSORS IN THE
      EVENT THE MERGER DOES NOT CLOSE

         A.       Information that Will Inform the Purchasers’ Determination of Whether to
                  Close

         55. The Merger and Purchase Agreement allows the Purchasers to make a decision

              whether or not to close on the Merger up until the First Closing date (i.e. the Effective

              Date of the Plan), which could be extended as late as November 2016. The

              Purchasers’ view of the fair market value of Oncor at that point in time will be

              informed significantly by the market trading values of the rights to acquire New EFH


38
     Absent any crediting mechanism towards future costs, which is not the case with respect to the Merger and
     Purchase Agreement.




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             Common Stock. That view is likely to be different than the Purchasers’ view of the

             fair market value of Oncor at the time when the Merger and Purchase Agreement was

             executed.

         56. The Plan contemplates a public rights offering that will include the issuance of rights

             (the “Rights”) to purchase common shares of New EFH and those Rights will be

             publicly tradable prior to consummation of the Merger. Under the Plan, New EFH

             shall conduct public and private rights offerings (the “Rights Offering”) “no later than

             twenty (20) Business Days following the later of the Confirmation Date and the

             Rights Registration Effective Date, and prior to the Effective Date.” 39 It is during

             those twenty (20) business days that the Rights will be tradeable. The trading of the

             Rights will generate information on their perceived market value, which will in turn

             provide a market indication of the expected value of the New EFH Common Stock.

         57. In addition, the completion and related results of the Rights Offering will be an

             indicator of the potential demand for the New EFH Common Stock which will be

             issued on the Effective Date.

         58. The public Rights Offering will therefore provide the Purchasers with real-time

             information on the expected public market value of New EFH Common Stock.

             Therefore, immediately prior to closing, the Purchasers will be able to compare the

             price the Purchasers have agreed to pay for the New EFH Common Stock with the

             public market’s value of the rights to purchase that stock when issued on the Effective




39
     See Disclosure Statement at page 94.




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              Date, allowing the Purchasers to use this information to decide whether they should

              close the Merger or not.

         59. In addition to the Rights Offering, the Purchasers’ view regarding Oncor’s valuation

              and the associated value of the New EFH Common Stock will be informed by other

              information that will be available to the Purchasers at the time they have to close the

              Merger. Examples of such information include, among others, the completion of the

              Registration Statement for the Rights Offering, the level of participation by “T-Side”

              creditors in the Rights Offerings, whether or not there are sufficient funds to

              consummate the Merger (i.e., whether any Plan Sponsor has failed to fund its equity

              commitment), market valuations of comparable utility companies (many of which are

              publicly traded), regulatory and tax issues (including the type and extent of any

              conditions imposed by the PUCT), the financial and operational affairs of Oncor and

              general market and industry conditions. As a result, the Purchasers will have a better

              ability to value Oncor at the time of closing than when they originally executed the

              Merger and Purchase Agreement as of August 9, 2015.

         B.      Payment to be Received by Certain Plan Sponsors if Transaction Does Not
                 Close

         60. Under the terms of the Settlement Agreement, if the Merger does not close and the

              Plan fails to consummate, TCEH junior creditors will receive a $550 million

              payment40 and will be required to support an Alternative Restructuring that contains

              the Required Alternative Terms. Therefore, the TCEH junior creditors, who are also

              Plan Sponsors, would have a financial incentive to fund their equity commitments

40
     Such payment may be adjusted pursuant to provisions in the Plan Support Agreement and Settlement
     Agreement.




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         and cause the Purchasers to close on the Merger only if their perceived value of New

         EFH at such time is greater than the sum of the purchase price for New EFH

         Common Stock plus their share of the $550 million payment. In other words, for it to

         be in the financial interest of the TCEH junior creditors to close, the value of New

         EFH must exceed the agreed purchase price by their share of the $550 million

         payment. If, for example, the value of New EFH happened to be exactly equal to the

         purchase price, then the TCEH junior creditors would be expected to fail to cause the

         Purchasers to close the Merger.

      61. Because, as discussed above, the Merger and Purchase Agreement and Settlement

         Agreement impose no financial penalties on the Purchasers or Plan Sponsors if they

         do not close on the Merger, their decision on whether to close, or not, can be expected

         to be based on whether their perceived value of the New EFH Common Stock

         exceeds the sum of: (a) the purchase price plus (b) any amount that certain Plan

         Sponsors expect to receive in the event the Merger does not close.

IX.   OPINION 4: THERE ARE NO REASONABLE ASSURANCES THAT THE
      MERGER WILL CLOSE

      62. In determining whether to approve a large M&A transaction, boards of directors will

         consider the likelihood that the transaction will close. For example, the board of a

         seller will consider issues related to: (a) the degree of conditionality inherent in the

         proposed transaction; (b) the extent of deal protections and remedies available to the

         seller in the event the buyer fails to close; and (c) other issues relevant to assessing

         the risks of the transaction not closing, which may include items such as timing

         milestones.




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         63. Between July and August 2015, the Debtors’ board (the “Board”) received at least

             three detailed presentations (the “Board Presentations”)41 outlining the status of

             negotiations, key terms, the high degree of conditionality and other information

             regarding the Merger.

             July 20th Update

         64. On July 20, 2015, the Board was advised on the status of ongoing negotiations with

             the “Hunt/TCEH unsecured group” and the “TCEH first lien group” regarding terms

             for a merger and related plan and settlement terms.42 The July 20th Update stated that

             while the parties were making progress on certain fronts, there remained several key

             open issues.43 The July 20th Update referenced certain “Risks,” which included the

             following:

                  “The critical tradeoff of the Hunt/TCEH unsecured group
                  transaction is its REIT conditionality, which is likely to be high.
                  Although the parties are still negotiating the definitive transaction
                  documents, the Hunt/TCEH unsecured group has generally insisted
                  on broad rights to terminate the transaction based on the outcome
                  of REIT-related approvals and rulings, which are uncertain.”44

             July 30th Update

         65. On July 30, 2015, the Board was advised that the Debtors had made “significant

             progress on the principal terms of the merger” with the “TCEH first lien group and




41
     See generally, Presentation to the Boards of Directors and Managers of EFH, et al., dated 07/20/2015 (the “July
     20th Update”); the July 30th Update; and the August 9th Approval.

42
     See July 20th Update at slides 3 and 11 EFH05552030 and EFH05552038.
43
     See July 20th Update at slide 13 EFH05552040.

44
     See July 20th Update at slide 18 EFH05552045.




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             the Hunt/TCEH unsecured consortium.”45 The July 30th Update contained details on

             the terms and conditions of the Merger and also referenced the conditionality of the

             transaction multiple times:

                 “…the merger agreement and related definitive documents have
                 effectively been structured as an option with out-of-market
                 conditions related to PUCT approvals, IRS rulings, and market
                 factors.

                 Significant Conditionality. This significant conditionality
                 effectively creates an option for the Investors to close…There is
                 significant risk that the Merger will not close if, among other
                 things:

                         the IRS rulings associated with the REIT conversion or
                          conditions imposed by the PUCT upon approval of the
                          transaction affect the intended economics of the
                          transaction; or

                         market conditions shift in a manner that would adversely
                          affect the transaction.”46

                  “There is a substantial degree of conditionality in the merger
                 agreement, in particular with respect to the regulatory approvals
                 and IRS rulings associated with the REIT conversion. The
                 Investors may terminate the merger agreement if the PUCT
                 approves the Merger with conditions that negatively affect the
                 desired economics of the transaction.”

                 “Moreover, there is the risk that, even if the Investors seek to close
                 the transaction, one or more Investors nevertheless fail to fund the
                 Merger.”47




45
     See July 30th Update at slide 3 EFH06002846.

46
     See July 30th Update at slide 12 EFH06002855 (bold and underlined words shown exactly as presented in the
     Debtors’ July 30th Update).

47
     See July 30th Update at slide 36 EFH06002879.




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             August 9th Approval

         66. On August 9, 2015, the date of the Merger and Purchase Agreement, the Board

             received a detailed update on the resolution of material open items and, among other

             things, a presentation summarizing the transaction, a financial analysis related thereto

             and a description of the resolution of open issues.48 The August 9th Approval also

             included details on the implementation of the transaction, milestones and expected

             benefits to various parties. The August 9th Approval included a “Recommendation”

             section that examined the benefits and risks of the transaction, once again recognizing

             its optionality:

                 “Risk that investors decline to close the Merger, including due to
                 effective optionality of agreement and lack of enforcement
                 rights.”49

         67. None of the Board Presentations indicate that the Board was ever provided with a

             basis to conclude that there were reasonable assurances that the Merger would close.

             To the contrary, as the excerpts above make clear, the Merger was consistently

             presented to the Board as a transaction with a high degree of conditionality and

             uncertainty that, in effect, provided the Purchasers with an option. The Board

             presentations make explicit that the transaction the Board approved, as documented in

             the Merger and Purchase Agreement, was one with “effective optionality” and a “lack

             of enforcement rights.”49

         68. Based on my assessment of the factors and the risks outlined in the Board

             Presentations in support of the Merger and Purchase Agreement, as well as the

48
     See August 9th Approval at slide 3 EFH06002901.

49
     See August 9th Approval at slide 37 EFH06002935.




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              analyses set forth in Opinions I-III, above, it is my opinion that there are no

              reasonable assurances that the Merger will close.

X.       OPINION 5: THE INTEREST RATE PAID BY EFH TO TCEH IN
         CONNECTION WITH THE INTERCOMPANY PROMISSORY NOTES
         ORIGINALLY ISSUED IN OCTOBER 2007 AND REPAID IN FULL IN 2013
         WAS REASONABLE AND REPRESENTED REASONABLY EQUIVALENT
         VALUE IN EXCHANGE FOR THE ADVANCING OF CREDIT DURING THAT
         PERIOD

         A.       Overview of the Intercompany and Demand Notes

         69. Between 2007 and 2014, EFH and several of its affiliates issued certain intercompany

              notes (the “Intercompany Notes”). These Intercompany Notes include transactions

              between: (a) EFH as borrower and TCEH as lender; (b) TCEH as borrower and EFH

              as lender; (c) EFCH as borrower and EFH as lender; and (d) EFCH as borrower and

              TCEH as lender. The Intercompany Notes were similarly structured and were

              revolving in nature (meaning they were borrowed and repaid from time to time).

              Exhibit 5 provides a summary of the EFH Intercompany Demand Notes.

                  Exhibit 5
                                            Summary of Energy Future Holdings Intercompany Demand Notes
                                                                                                                         (50)
         Borrower                           EFH-P&I              EFH-SG&A           TCEH              EFCH         EFCH
         Lender                             TCEH                 TCEH               EFH               EFH          TCEH
         Guarantors                         EFIH / EFCH          EFIH / EFCH        N/A               N/A          N/A
         Date Created                       October 10, 2007     October 10, 2007   February 2010     March 2010   February 2008
         Repayment                          On Demand            On Demand          On Demand         On Demand    On Demand
         Interest Rate                      L + 500              L + 500            L + 350           L + 500      L + 500
         Maximum Amount Outstanding ($mm)   $1,381.0             $1,031.0           $770.0            $108.0       $24.0


                  Source: Corporate Filings, Intercompany Promissory Notes.

         70. In particular, I reviewed the terms and conditions of certain Intercompany Notes

              between EFH as borrower and TCEH as lender (the “EFH Demand Notes”) during



50
     EFCH to TCEH intercompany promissory note data based on intercompany loan and interest schedules.




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             the period which they were outstanding (October 2007 - January 2013) (the

             “Evaluation Period”).51

         71. The EFH Demand Notes provided for two types of borrowings: (a) payment of

             principal and interest (the “P&I Demand Notes”); and (b) payment of certain

             corporate expenses (the “SG&A Demand Notes”). The EFH Demand Notes included

             a floating rate of interest, calculated daily based on LIBOR + 5% (or 500 basis points)

             and most importantly, were payable at any time upon demand by TCEH.52

             Borrowings under the EFH Demand Notes increased and decreased frequently (and

             on many occasions, daily) as amounts were borrowed and repaid.

         72. The EFH Demand Notes ultimately were repaid in full (with interest) and were

             canceled in January 2013.53 In addition, the EFH Demand Notes provided guaranties

             on performance and a limitation on the maximum amount of permitted borrowings

             during the Evaluation Period. Exhibit 6 sets forth a timeline of the EFH Demand

             Notes.




51
     The EFH Demand Notes represented a series of borrowing transactions between EFH and TCEH which
     provided an ability for TCEH to loan funds to EFH for “corporate overhead costs, SG&A expenses, taxes and
     principal and interest payments. See page 164 of EFH 2010 Form 10-K.
52
     EFH Intercompany Promissory Note dated 10/10/2007.

53
     The P&I Demand Note was also paid in full, voided on 11/06/2008 and reissued on 05/01/2010.




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                  Exhibit 6




                  Source: Company Filings, Intercompany Promissory Notes, Munger Tolles.

         73. In connection with my review of the EFH Demand Notes, I reviewed a presentation

             prepared by the TCEH Disinterested Director Advisors (the “Munger Tolles

             Report”).54 The Munger Tolles Report asserts, among other things, that the interest

             rate on the EFH Demand Notes did not provide reasonably equivalent value to TCEH,

             and alleges that TCEH was exposed to EFH credit risk without adequate

             compensation.55

         74. At the outset, I note that the Munger Tolles Report appears to disregard the rate paid

             by TCEH as a borrower from EFH through other Intercompany Notes during the

             same time period. As summarized in Exhibit 5 above, EFH loaned money to TCEH

             with an interest rate of LIBOR + 3.5% (the “TCEH Demand Notes”), which is 150

             basis points lower than the rates paid by EFH to TCEH during the Evaluation Period.

             It should also be noted that the TCEH Demand Notes were not guaranteed by any

             other Debtor entity, whereas the EFH Demand Notes were guaranteed by both EFIH

             and EFCH as of April 7, 2011.

54
     Energy Future Competitive Holdings Company LLC Texas Competitive Electric Holdings Company LLC
     Presentation to Proskauer Rose LLP 03/05/2015, prepared by Munger Tolles & Olson LLP.

55
     See Munger Tolles Report at slide 20.




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         75. In support of the allegation that the interest rate set by the EFH Demand Notes was

             too low, the Munger Tolles Report does not compare the EFH Demand Notes to the

             TCEH Demand Notes. Instead, the Munger Tolles Report relies on certain analyses

             comparing the yield of the EFH Demand Notes to two EFH unsecured, publicly

             traded corporate notes (the “EFH Public Notes”)56 and concludes that “[f]rom

             November 2007 to January 2013, TCEH received average annual interest of 5.9%

             [from the EFH Demand Notes] relative to an average YTM on EFH unsecured third

             party debt [the EFH Public Notes] of between 15.8% and 17.2%.”57 The Munger

             Tolles report then calculates a hypothetical yield on the EFH Demand Notes using the

             EFH Public Notes as a proxy. Exhibit 7 below sets forth a portion of the Munger

             Tolles report.




56
     EFH 5.55% 2014 Notes and EFH 10.875% 2017 Senior Notes. See Munger Tolles Report at slide 18.

57
     See Munger Tolles Report at slide 18.




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                  Exhibit 7




                  Source: Munger, Tolles & Olson. Red circles show source of information used in Exhibit 11.

         76. In order to evaluate the reasonableness of the interest rate on the EFH Demand Notes

             and related conclusions in the Munger Tolles Report, I performed the following:

             •    Comparison of key terms of the EFH Demand Notes with certain demand

                  securities of other corporate issuers (the “Corporate Demand Notes”)58 and the

                  EFH Public Notes;




58
     The Corporate Demand Notes include variable rate demand notes issued by Ally Financial Inc., Caterpillar
     Financial Services Corporation, Duke Energy Corporation and Ford Motor Credit Company, LLC (“Ford”). The
     research conducted by my team identified these issuers as the largest current issuers of demand notes, excluding
     municipalities, with publicly available data.




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     •   Comparison of interest rate and yields of the EFH Demand Notes with the

         Corporate Demand Notes, their related unsecured notes and the EFH Public

         Notes; and

     •   Examination of the U.S. Treasury Yield Curve (the “Yield Curve”) on select key

         dates during the Evaluation Period.

78. Based on my research and analyses, the demand feature provided by the EFH

     Demand Notes represented substantial value. In addition, the EFH Demand Notes

     contained additional enhancements over time such as corporate guarantees and

     limitations on borrowings and were ultimately repaid in full.        The interest rate

     associated with the EFH Demand Notes had similar characteristics with the Corporate

     Demand Notes I analyzed, all of which charge interest at much lower rates than their

     corresponding corporate unsecured longer-term debt.        Furthermore, on key dates

     during the Evaluation Period, the Yield Curve reflected greater yields for longer

     maturities, consistent with the higher yields of the EFH Public Notes.

79. It is my opinion that during the period when the EFH Demand Notes were

     outstanding, the interest rate was reasonable. Furthermore, the analyses and

     conclusions in the Munger Tolles Report regarding the interest rate on the EFH

     Demand Notes are fundamentally flawed, given their reliance on the market yield of

     the EFH Public Notes, which is not comparable to the EFH Demand Notes.

B.       The EFH Demand Notes Are Similar to Corporate Demand Notes

80. The EFH Demand Notes contain features similar to demand notes generally, which

     typically provide a lower interest rate relative to other fixed income securities, due

     primarily to the fact that they are payable upon demand by the holder.



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         81. One of the most important characteristics of a demand note, as reflected in the name

             of the instrument, is the ability of the holder to demand repayment from the issuer

             (i.e., put the note) at any time. This put feature is a particularly significant benefit for

             investors in such securities as it mitigates long-term credit risk and enhances

             liquidity.

         82. Given the demand feature, the interest rate provided by demand notes is not intended

             to be comparable to longer-term fixed income securities and may not provide

             compensation for the future credit risk of the issuer. Notably, the offering documents

             for the Corporate Demand Notes I reviewed all contain similar explanatory language

             that the interest on the underlying notes “may not provide a basis for comparison

             with…investments which pay a fixed yield for a stated period of time” and “does not

             necessarily bear any relation to the risks associated with or changes in our

             creditworthiness, credit rating or financial condition and may not compensate…for

             any increase in credit risk of investment in the [n]otes.”59

         83. I compared a number of key terms of the EFH Demand Notes to the Corporate

             Demand Notes and EFH Public Notes, a summary of which is set forth in Exhibit 8

             below.60




59
     Duke Energy Premier Notes Prospectus dated 12/06/2013. See Appendix D for excerpts with comparable
     language for other Corporate Demand Notes.

60
     See Appendix C for the detailed comparison of key terms.




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                  Exhibit 8

                                                  EFH            Corporate        EFH
                                                 Demand           Demand          Public
                                                  Notes            Notes          Notes
                     Not Publically Traded                                         
                     Variable Rate                                                 
                     No Fixed Maturity                                             
                     Payable on Demand                                             

                  Source: Company Filings, FactSet, Bloomberg.

         84. Similar to the EFH Demand Notes, the Corporate Demand Notes are not publicly

             traded, have a variable rate of interest and, most importantly, are payable on demand.

             While there are some differences between the EFH Demand Notes and the Corporate

             Demand Notes, such as the retail/consumer nature of Corporate Demand Notes,61 the

             EFH Demand Notes were structured and functioned much more like the Corporate

             Demand Notes than the EFH Public Notes.

         85. In addition to reviewing the key terms of the Corporate Demand Notes, I compared

             their current interest rates to the interest rates of publicly traded unsecured notes of

             the same issuers. There exists a meaningful differential between the interest rate of

             the Corporate Demand Notes and the weighted average unsecured note interest rate

             for each issuer. Exhibit 9 below shows the spread between Corporate Demand Note

             interest rates, and their issuer’s weighted average coupon for their outstanding

             unsecured debt.




61
     The Corporate Demand Notes generally provide the holder the ability to write checks against the account, and
     periodically reset rates as often as weekly. The EFH Demand Notes contained no interest rate reset feature.




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                    Exhibit 9

                                   Corporate      Unsecured Notes
                                                                           BPS                  %             S&P / Moody's
             Company              Demand Note      Weighted Avg.                   (64)                (65)
                                                                      Differential        Differential         Credit Rating
                                    Rate(62)        Coupon(63)
          Ally Financial, Inc       1 15%             4 32%                 317              275%               BB+ / B1
      Caterpillar Fin Svcs Corp     0 90%             2 63%                 173              193%                A / A2
         Duke Energy Corp           1 25%             5 17%                 392              314%                A- / A3
       Ford Motor Credit Co         1 05%             3 46%                 241              229%              BBB- / Baa3


                    Source: Company Filings, FactSet, Bloomberg.

          86. The Corporate Demand Notes exhibit a materially lower interest rate than the longer

               term unsecured debt.             In fact, as illustrated by the Ford analysis set forth below,

               demand notes have maintained their lower yield even in periods of significant

               distress.

          87. Based on my analysis, the EFH Demand Notes are more similar to the Corporate

               Demand Notes than to the EFH Public Notes. The EFH Demand Notes contained the

               most significant feature found in the Corporate Demand Notes: the ability to demand

               repayment at any time. They also contained a variable interest rate, which resulted in

               significant interest differentials from the EFH Public Notes, which is consistent with

               the differences between the Corporate Demand Notes and unsecured notes I analyzed.




62
     Corporate Demand Note Rates are published weekly by issuers. Rates for investments > $50K as of 10/05/2015.

63
     Unsecured Notes Weighted Average Coupon is a blended rate calculated by summing the coupons as a
     proportion of total unsecured debt outstanding. Weighted average maturities for the issuers as presented in
     Exhibit 9 are 5.8, 2.6, 3.5 and 8.5 years, respectively, in order presented in the chart.

64
     Basis Point (“BPS”) Differential is the absolute difference between the Unsecured Notes Weighted Average
     Coupon rate and the Corporate Demand Note Rate.

65
     % Differential is the BPS Differential expressed as a percentage of the Corporate Demand Note Rate.




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         C.       The Yield Differential Between the EFH Demand Notes and the EFH Public
                  Notes Was Consistent with Similar Ford Securities During the Evaluation
                  Period

         88. According to the Munger Tolles Report, the yield differential between the EFH

              Demand Notes and the EFH Public Notes supports the allegation that TCEH did not

              receive “adequate compensation” for EFH’s credit risk. However, relying on the

              yield of EFH Public Notes to establish “adequate compensation” for the EFH

              Demand Notes is fundamentally flawed because the two securities and associated

              yields are not comparable.            This is further supported by analyzing the yield

              differentials between similar third party securities during the Evaluation Period.

         89. For purposes of this analysis, I examined the yield differential between the demand

              notes and public corporate unsecured notes of a third-party issuer during the

              Evaluation Period. I selected Ford for this analysis, given its non-investment grade

              rating and availability of public data during the entire Evaluation Period. I then

              identified a Ford unsecured corporate note to serve as a reference security for the

              analysis.66 The yields of Ford’s demand notes and public corporate notes during the

              Evaluation Period are shown in the following chart.




66
     I identified an unsecured note with a similar maturity to the EFH Public Notes, that was outstanding during the
     entire Evaluation Period and with pricing data available. The Ford security that met this criteria is the Ford
     Motor Credit Co. 8.0% 12/15/2016 note.




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       Exhibit 10




       Source: Company Filings, Bloomberg.

90. The chart shows a relatively stable yield environment for Ford’s demand notes, with

   its public corporate notes exhibiting significant changes in yield during the

   Evaluation Period. In other words, throughout the Evaluation Period, including the

   most volatile timeframe (i.e., 2008 – 2009), investors were willing to advance credit

   to Ford in the form of demand notes at a much lower yield in comparison to its other

   public unsecured notes.

91. In addition, the yields of Ford’s securities during the Evaluation Period reflect a

   similar pattern when compared to the EFH Public Notes in the Munger Tolles Report,

   as shown in the following table.




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96. In conclusion, the EFH Demand Notes contained a valuable demand feature, along

   with other protective features, that support the reasonableness of the EFH Demand

   Note interest rate as compared to the rates of the EFH Public Notes. The EFH

   Demand Notes are similar to the Corporate Demand Notes I analyzed, which also

   have a significantly lower interest rate and lower yield than longer-term unsecured

   debt securities of the same issuer. Moreover, the relationship between the yields of

   the EFH Demand Notes and the EFH Public Notes was consistent with similar Ford

   securities during the Evaluation Period, during which Ford’s investors were willing to

   accept materially lower yields on its demand notes, notwithstanding substantially

   higher yields on its other unsecured debt. In addition, the lower yields associated

   with the EFH Demand Notes compared to the longer-term EFH Public Notes was

   consistent with the Yield Curve on key dates during the Evaluation Period.

97. Conversely, the conclusions and analyses contained in the Munger Tolles Report

   pertaining to the EFH Demand Notes are based on the premise that the EFH Demand

   Notes and EFH Public Notes are similar securities with similar features, and that the

   interest rate on the EFH Demand Notes needed to be “trued-up” to reflect the yield on

   the longer-dated EFH notes during the Evaluation Period. This position is not

   supportable.

98. It is my opinion that the interest paid to TCEH on the EFH Demand Notes issued in

   October 2007 and repaid in full in 2013 was reasonable, and represented reasonably

   equivalent value in exchange for the advancing of credit during that period.




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XI.       OPINION 6: BASED ON THE IMPLIED MARKET VALUE OF TCEH TODAY,
          THERE WILL BE NO TAX LIABILITY TO EFH UPON A DISPOSITION OF
          TCEH IN A TRANSACTION UTILIZING EFH’S NOLS

          A.       The Tax Hurdle

          99. The implied market value of TCEH has materially declined since the filing of the

               Disclosure Statement to a point at which it is likely that there will be no tax liability

               to EFH in connection with a disposition of TCEH in a step-up transaction (the

               “Disposition”). Based on the market values of TCEH first lien debt securities, the

               implied enterprise value of TCEH as of the date of this report is approximately

               $9.6 billion (see Exhibit 14 below), substantially below the projected $12.0 billion

               Tax Hurdle (as defined below) for creating a tax liability associated with the

               Disposition. The decline in TCEH’s implied enterprise value (and Luminant’s in

               particular) is due, in large part, to some of the same factors impacting the energy

               sector –sharp price declines in natural gas negatively impacting expected future cash

               flows.70 It is my opinion that based on the implied market value of TCEH today, there

               will be no tax liability to EFH upon a disposition of TCEH in a transaction utilizing

               EFH’s NOLs. The chart below shows the variance in TCEH’s implied market value

               between the filing date of the Disclosure Statement and October 8, 2015.




70
      In addition, I understand that TCEH will be revising its projections to reflect these current market conditions,
      and that Evercore will be revisiting its TCEH valuation estimates accordingly.




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                           Exhibit 13

TCEH Implied Market Value (March 24, 2015 vs. October 8, 2015)                                                                                         ($ in millions)
                                                                           Market Value              Market Value
                                                        Principal         (03/24/2015)(72)          (10/08/2015)(72)                Variance              % Change
                                                      Outstanding(71)   Price         Value       Price         Value        Price         Value           in Value
$3.375M DIP Facility(73)                                    $1,425      100 0%       $1,425       100 0%       $1,425        0 0%                --          0 0%
Other TCEH Secured Claims(7 )                                   52      100 0%               52   100 0%               52    0 0%                --          0 0%
Credit Agreement(75)                                        22,635      59.8%        13,524       37.4%          8,460      (22.4%)        (5,065)          (37.4%)
First Lien Notes                                             1,750      62.3%          1,089      41.8%            732      (20.5%)            (358)        (32.9%)
First Lien Commodity Hedges/Interest Rate Swaps(76)          1,235      62.3%            769      41.8%            516      (20.5%)            (253)        (32.9%)
TCEH First Lien Debt                                       $27,097                  $16,860                   $11,185                     ($5,675)          (33.7%)
Less: TCEH Cash (as of 02/28/2015 and 08/30/2015)(77)                                 (1,623)                   (1,566)                         57
TCEH First Lien Net Debt                                                            $15,236                    $9,619                     ($5,618)          (36.9%)


Tax Hurdle (est. as of 06/30/2016)                                                   12,000                    12,000
Net Gain (Excess NOLs)                                                               $3,236                    ($2,381)


                           Source: Guggenheim analysis based on publicly available information and TCEH Partial Tax

                                      Basis Step-up Transaction presentation dated 03/17/2015 EFH Dataroom Index 1.15.1.2

                                      (PEO).

             100.          On March 17, 2015, EFH and its advisors prepared a presentation (the “Step-Up

                    Presentation”) regarding a potential Disposition and referenced a hurdle as of

                    December 31, 2015 (the “Initial Tax Hurdle”) of $11.4 billion in order to fully utilize

                    EFH’s NOLs. In addition, the Step-Up Presentation included a tax-basis and step-up

                    analysis (the “Step-Up Analysis”) that identified a range of tax-basis outcomes

                    assuming a full basis step-up and usage of $4.7 billion in NOLs as set forth below.


71
      Per Disclosure Statement and discussions with the Debtors.

72
      Per Bloomberg.

73
      Consists of a $1.95B unfunded Revolving Credit Facility and $1.425B Term Loan Facility. Market value based
      on par recovery per Disclosure Statement.

74
      Market value based on par recovery per Disclosure Statement.

75
      Market value based on trading price of 2017 Term Loan tranche (represents ~70% of Credit Agreement).
76
      Market value based on trading price of First Lien Notes.

77
      Per monthly operating reports filed on 04/20/2015 and 09/30/2015, respectively.




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                  Exhibit 14




           Source: TCEH Partial Tax Basis Step-up Transaction presentation dated 03/17/2015 EFH Dataroom

                      Index 1.15.1.2 (PEO). Note: Dollar figures in millions.

       101.       The Step-Up Presentation also contains estimates for projected NOLs as of June

             30, 2016, which is the Debtors’ most recent estimate of the date the Disposition will

             occur. As a result, the Initial Tax Hurdle will increase to $12.0 billion (the “Tax

             Hurdle”) due to the Debtors’ estimated monthly accrual of approximately $100

             million of NOLs in 2016. The table below shows the same sensitivity using the more

             recent June 30, 2016 Effective Date estimate.

                  Exhibit 15

Revised Illustrative TCEH Tax Basis Sensitivity (06/30/2016 Emergence)                                                       ($ in millions)



Full Basis Step-Up                                                $12,000.0 $13,000.0 $14,000.0 $15,000.0 $16,000.0 $17,000.0 $18,000.0
Less: Existing Tax Basis                                           (6,700.0) (6,700.0) (6,700.0) (6,700.0) (6,700.0) (6,700.0) (6,700 0)
 Tax Basis Write-Up                                                $5,300.0  $6,300.0  $7,300.0  $8,300.0  $9,300.0 $10,300.0 $11,300.0
Less: Available NOLs (Net of $200 million cushion)                 (5,300.0) (5,300.0) (5,300.0) (5,300.0) (5,300.0) (5,300.0) (5,300 0)
 Forgone Tax Basis in Tax-Free Separation with Partial Step-up         $0.0  $1,000.0  $2,000.0  $3,000.0  $4,000.0  $5,000.0  $6,000.0

Nominal Value of Forgone Tax Basis @ 35% Tax Rate                       $0.0   $350.0   $700.0   $1,050.0   $1,400.0   $1,750.0   $2,100.0




           Source: Guggenheim analysis based on TCEH Partial Tax Basis Step-up Transaction presentation dated

                      03/17/2015 EFH Dataroom Index 1.15.1.2 (PEO). Per page 5, using Debtors' estimate of $5.5

                      billion in EFH NOLs as of 06/30/2016, less $200 million cushion.




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         102.     The Disposition would thus have to generate a value in excess of the Tax Hurdle

              before there would be any tax liability to EFH.

         B.       Implied Market Value of TCEH Is Materially Below the Tax Hurdle

         103.     Utilizing the information contained in the Step-Up Presentation, the Tax Hurdle

              as of June 30, 2016 would be approximately $12.0 billion ($6.7 billion of existing

              TCEH tax basis and $5.3 billion of available NOLs as of June 30, 2016).78 Therefore,

              there would be no tax liability based on the current implied market value of TCEH

              ($9.6 billion as of October 8, 2015). In fact, the implied market value of TCEH would

              need to increase by over $2.4 billion (or 25%) in value in order to generate any

              expected tax liability in a Disposition.

         C.       TCEH’s Decline in Value is Consistent with Energy Markets, Comparable
                  Companies and Projected Earnings Declines

         104.     Energy markets and related companies experienced declining values subsequent

              to the filing of the Disclosure Statement. These results are consistent with the erosion

              in TCEH’s implied market value and reduction in TCEH’s projected terminal

              EBITDA as illustrated in the table below.




78
     Net of a $200 million cushion.




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                  Exhibit 16




             Source: Guggenheim analysis based on Company financials, Bloomberg, SNL Financial, Filsinger

                      0+12 2015 EBITDA Extension to 2021 presentation dated March 2015 (PEO) and 2016-21

                      LRP Review dated September 2015 (PEO).

         105.     The implied market value of TCEH has materially decreased since the filing of

             the Disclosure Statement. Based on current market valuations and the Step-Up

             Analysis, the Disposition would fall significantly short of generating any taxable



79
     Per Bloomberg.

80
     Comparable companies represent the set of companies that Evercore used in its TCEH comparable company
     valuation analysis (Calpine Corporation, Dynegy Inc. and NRG Energy, Inc.). The enterprise value of NRG
     Energy, Inc. has been adjusted in order to exclude the value of NRG Yield, Inc. (consistent with Evercore’s
     treatment of NRG Energy, Inc. in its comparable company valuation analysis).
81
     Sources: (1) Filsinger 0+12 2015 EBITDA Extension to 2021 presentation dated March 2015 (PEO); (2) 2016-
     21 LRP Review dated September 2015 (PEO).




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gain. It is therefore my opinion that there would be no tax liability to EFH upon a

disposition of TCEH in a transaction utilizing EFH’s NOLs.




   Signed on the 12th day of October, 2015, at San Francisco, California



                                               ______________________________
                                                        Michael Henkin



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XII.   Appendix A: Curriculum Vitae

Curriculum Vitae

 Investment Banking  Guggenheim Securities, LLC, Senior Managing Director and Co-Head of
 and Restructuring   Restructuring Group
 Advisory            Responsible for managing all aspects of restructuring transactions for
 Experience          debtors, creditors and other parties-in-interest.
                     (2013 – Present)
                     Professional Consulting
                     Independent restructuring advisory and expert witness service provision
                     (2012 – 2013)
                     Jefferies & Company, Inc., Managing Director and Global Co-Head of
                     Restructuring and Recapitalization Group
                     Responsible for managing all aspects of restructuring transactions for
                     debtors, creditors and other parties-in-interest.
                     Previous titles: Senior Vice President, Vice President, Associate, Analyst
                     (2001 – 2011; 1991 – 1994)
 Corporate Executive NextEngine, Inc., President and Chief Operating Officer
                     Joined technology company at inception and built and managed finance,
                     operations, marketing and business development teams. Led capital raising
                     activity from both venture capital and strategic investors.
                     (1999 – 2001)
                     Loral Space & Communications Ltd., Senior Vice President, Business
                     Development, and Director, Operations Planning
                     Responsible for corporate business development, M&A and operations
                     strategy and planning for this global satellite communications company.
                     (1998 – 1999)
                     The News Corporation Limited, Vice President, Business Development, News
                     Technology Group
                     Responsible for business development and financial oversight of group
                     which developed and implemented technologies across all News Corp.
                     divisions and had responsibility for four technology-based operating
                     companies with over $250 million in revenue.
                     (1995 – 1998)
 Education           MBA, Global Management Program – Stanford Graduate School of
                     Business – 1996
                     Vocational Certificate – Musicians Institute, Guitar Institute of
                     Technology – 1991
                     BA in Economics/Business, Summa Cum Laude – University of California,
                     Los Angeles – 1990




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Publications Authored in Past Ten Years

               None

Expert Testimony at Deposition or Trial in Past Four Years

                    Filing  Testimony      Case
   Company                                                   Judge          Court
                    Date       Date      Number
Exide            06/10/2013 10/31/2014 13-11482           Kevin J.     U.S. Bankruptcy
Technologies                                              Carey        Court – Delaware




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XIII. Appendix B: List of Reference Materials

List of Documents Reviewed
 #                 Category                                                Document
  1      Bankruptcy Court Docket   Chapter 11 Voluntary Petition
  2      Bankruptcy Court Docket   Debtors' Omnibus Reply to Objections to Plan Support Agreement Motion
  3      Bankruptcy Court Docket   Disclosure Statement
  4      Bankruptcy Court Docket   Fifth Amended Plan of Reorganization
  5      Bankruptcy Court Docket   Merger Agreement
  6      Bankruptcy Court Docket   Motion to Approve Bidding Procedures
  7      Bankruptcy Court Docket   Omnibus Tax Memorandum
  8      Bankruptcy Court Docket   Plan Support Agreement - Exhibit 1 to Exh bit A
  9      Bankruptcy Court Docket   Pre-submission memo
10       Bankruptcy Court Docket   Settlement Agreement
11       Bankruptcy Court Docket   Settlement Agreement
12       Bankruptcy Court Docket   TCEH Intercompany Notes Claim by Munger Tolles & Olsen LLP
13       Corporate Documents       Analysis and public and confidential information for the Intercompany Notes
14       Corporate Documents       Analysis and public information for the Corporate Demand Notes
15       Corporate Documents       Transaction documents for all M&A transactions listed in Exhibits 2 and 3
16       Deposition Transcript     Selected excerpts from 09/10/2015 deposition of Paul Keglevic
17       Deposition Transcript     Selected excerpts from 09/23/2015 deposition of David Ying
18       Deposition Transcript     Selected excerpts from 09/24/2015 deposition of Hugh Sawyer
19       Litigation Documents      Aurelius Capital Master, Ltd. v. Acosta
20       PEO                       2016-21 LRP Review dated September 2015 (PEO)
21       PEO                       Filsinger 0+12 2015 EBITDA Extension to 2021 presentation dated March 2015 (PEO)
22       PEO                       Presentation to the Board of Directors and Managers - 07/10/2015 (PEO)
23       PEO                       Presentation to the Board of Directors and Managers - 07/20/2015 (PEO)
24       PEO                       Presentation to the Board of Directors and Managers - 07/30/2015 (PEO)
25       PEO                       Presentation to the Board of Directors and Managers - 08/09/2015 (PEO)
26       PEO                       TCEH Partial Tax Basis Step-Up Transaction (PEO)
27       Public Financials         Various public filings of the Debtors and comparable companies from 2007 to present
28       Regulatory                Memo from Commissioner Anderson - 08/20/2015
29       Regulatory                Memo from Commissioner Anderson - 09/24/2015
30       Research Materials        A primer on variable-rate demand notes - Wells Fargo
31       Research Materials        Copeland and Tufano (2004) Harvard Business Review “A Real-World Way to Manage
                                   Real Options.”
32      Research Materials         Damodaran (2012) “Real Options, Acquisition Valuation and Value Enhancement.”
33      Research Materials         Fabozzi, F.J. (2000) "Fixed Income Analysis for the CFA Program."
34      Research Materials         Federal Reserve Bank of San Francisco (July 2004) "What is a yield curve, and how do
                                   you read them? How has the yield curve moved over the past 25 years?"
35      Research Materials         Federal Reserve Board “Futures, Forward, and Option Contracts” (2015 and 1992)
36      Research Materials         Hodrick (2014) Columbia Business School Course Packet “Note on Valuing Real
                                   Options.”
37      Research Materials         Schulte Roth & Zabel - M&A deal study (2013-2014)
38      Research Materials         Southern California Law Review "Ring-fencing" by Steven Schwarcz
39      Research Materials         The Options Clearing Corporation (1994). “Understanding Stock Options.”
40      Research Materials         Vanderbilt Law Review. "Transforming the Allocation of Deal Risk Through Reverse
                                   Termination Fees" by Afra Afsharipour




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XIV. Appendix C: Comparative Note Analysis
                                                                            Demand Notes                                                                                           EFH Notes
                                                         P&I                                                 SG&A                                           10.875% 2017                               5.55% 2014
Description                       Intercompany Demand Notes                            Intercompany Demand Notes                             Senior Unsecured                              Senior Unsecured
Date Issued                       October 10, 2007 (1) (2)                             October 10, 2007 (1)                                  January 30, 2009                              August 15, 2005
Issuer                            EFH                                                  EFH                                                   EFH                                           EFH
Holder                            TCEH                                                 TCEH                                                  Publicly traded                               Publicly traded
                                                  (1)                                                  (1)
Issued                            Up to 2 billion                                      Up to 2 billion                                       $1.98 billion                                 $1.00 billion
Interest                          Floating                                             Floating                                              Fixed                                         Fixed
Interest Rate                     1M L + 500                                           1M L + 500                                            10.875%                                       5.550%
Calculation                       Daily                                                Daily                                                 --                                            --
Maturity                          On Demand                                            On Demand                                             November 1, 2017                              November 15, 2014
Security                          None                                                 None                                                  None                                          None
Guarantees                        Yes (2)                                              Yes (1)                                               Yes                                           No

Source: Company Filings, FactSet, Bloomberg.
(1) April 7, 2011 note amended.
(2) May 1, 2009 new note issued.

                                                     Demand Notes                                                                                   Other Corporate Demand Notes
                                       P&I                                 SG&A                               Ally Demand Notes           CAT Power Investment         Duke Premier Notes               Ford Interest Advantage
Description             Intercompany Demand Notes           Intercompany Demand Notes                 Variable Rate Demand Notes     Variable Rate Demand Notes       Variable Rate Demand Notes    Variable Rate Demand Notes
Date Issued             October 10, 2007 (1) (2)            October 10, 2007 (1)                      May 1, 2014                    October 8, 2014                  December 6, 2013              February 21, 2014
Issuer                  EFH                                 EFH                                       Ally Financial                 Caterpillar Financial Services   Duke Energy                   Ford Credit Company
Holder                  TCEH                                TCEH                                      Individuals - not tradeable    Individuals - not tradeable      Individuals - not tradeable   Individuals - not tradeable
Issued                  Up to 2 billion (1)                 Up to 2 billion (1)                       Up to $12.5 billon             Up to $2 billion                 Up to $3 billion              Up to $ 10 billion
Interest                Floating                            Floating                                  Floating                       Floating                         Floating                      Floating
Interest Rate           1M L + 500                          1M L + 500                                Variable 3)                    Variable (3)                     Variable (3)                  Variable ( )
Calculation             Daily                               Daily                                     Weekly                         Weekly                           Weekly                        Weekly
Maturity                On Demand                           On Demand                                 On Demand                      On Demand                        On Demand                     On Demand
Security                None                                None                                      None (5)                       None (5)                         None (5)                      None (5)
                            (2)                                 (1)                                          (5)                            (5)                              (5)                           (5)
Guarantees              Yes                                 Yes                                       None                           None                             None                          None

Source: Company Filings, FactSet, Bloomberg.
(1) April 7, 2011 note amended.
(2) May 1, 2009 new note issued.
(3) Interest rates are determined by independent committee at it's sole discretion.
(4) Interest rates are determined by independent committee at it's sole discretion subject to a money market + 25 bps floor.
(5) Notes are unsecured obligations of the issuers, and not insured / guaranteed by FDIC, or any other third party.




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XV.   Appendix D: Corporate Demand Note Prospectus Language Excerpts




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